Case 9:13-cr-00021-MAC-CLS            Document 74       Filed 12/18/13     Page 1 of 5 PageID #:
                                             179




                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    LUFKIN DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
vs.                                               §   CASE NO. 9:13-CR-21(2)
                                                  §
MALCOLM KAREEM BENNETT                            §

            FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                 BEFORE THE UNITED STATES MAGISTRATE JUDGE

          By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct

a felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3).

United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642

(2003).     On December 16, 2013, this cause came before the undersigned United States

Magistrate Judge for entry of a guilty plea by the defendant, Malcolm Kareem Bennett, on

Count Three of the charging Indictment filed in this cause.




                                                -1-
Case 9:13-cr-00021-MAC-CLS                 Document 74           Filed 12/18/13         Page 2 of 5 PageID #:
                                                  180



        Count Three of the Indictment charges on or about July 17, 2011, and continuing through

on or about April 30, 2012, in the Eastern District of Texas and elsewhere, Malcolm Kareem

Bennett, defendant, did knowingly transfer one or more firearms1, knowing that the firearms

would be used in a drug trafficking crime, that is, possession with the intent to distribute a

Schedule II controlled substance, in violation 21 U.S.C. § 841(a)(1), all in violation of 18 U.S.C.

§ 924(h).

        Defendant, Malcolm Kareem Bennett, entered a plea of guilty to Count Three of the

Indictment into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

        a.       That Defendant, after consultation with counsel of record, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

        b.       That Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal.

        c.       That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

        1
          The Indictment specifically lists nine named firearms, including their make, model and serial number, that
Bennett is alleged to have transferred in violation of 18 U.S.C. § 924(h).

                                                       -2-
Case 9:13-cr-00021-MAC-CLS            Document 74        Filed 12/18/13       Page 3 of 5 PageID #:
                                             181



result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

       d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and Defendant

realizes that his conduct falls within the definition of the crime charged under 18 U.S.C. § 924(h).

                                  STATEMENT OF REASONS

       As factual support for Defendant’s guilty plea, the Government presented a factual

resume. See Factual Basis and Stipulation. In support, the Government and Defendant stipulated

that if this case were to proceed to trial the Government would prove beyond a reasonable doubt,

through the sworn testimony of numerous witnesses, each and every essential element of the

crimes charged in Count Three of the Indictment. The Government would also prove that the

defendant is one in the same person charged in Count Three of the Indictment and that the

charged offenses occurred in the Eastern District of Texas. The Court incorporates the proffer of

evidence described in detail in the factual basis in support of the guilty plea.

       Defendant, Malcolm Kareem Bennett, agreed with and stipulated to the evidence

presented in the factual basis. Counsel for Defendant and the Government attested to Defendant’s

competency and capability to enter an informed plea of guilty. The Defendant agreed with the

evidence presented by the Government and personally testified that he was entering his guilty

plea knowingly, freely and voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned



                                                 -3-
Case 9:13-cr-00021-MAC-CLS           Document 74        Filed 12/18/13      Page 4 of 5 PageID #:
                                            182



determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count Three of the charging Indictment on file in this

criminal proceeding.    The Court also recommends that the District Court accept the plea

agreement. in accordance with Federal Rule of Criminal Procedure 11(c). Accordingly, it is

further recommended that, Defendant, Malcolm Kareem Bennett, be finally adjudged as guilty of

the charged offenses under Title 18, United States Code, Section 924(h).

       Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

the District Court may reject the plea and that the District Court can decline to sentence

Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

presentence report because the sentencing guidelines are advisory in nature. The District Court

may defer its decision to accept or reject the plea agreement until there has been an opportunity to

consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

agreement, the Court will advise Defendant in open court that it is not bound by the plea

agreement and Defendant may have the opportunity to withdraw the guilty plea, dependent upon

the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is rejected

and Defendant still persists in the guilty plea, the disposition of the case may be less favorable to

Defendant than that contemplated by the plea agreement. Defendant has the right to allocute

before the District Court before imposition of sentence.

                                          OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen



                                               -4-
Case 9:13-cr-00021-MAC-CLS           Document 74       Filed 12/18/13      Page 5 of 5 PageID #:
                                            183



(14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1).

       A party’s failure to object bars that party from: (1) entitlement to de novo review by a

district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275,

276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of unobjected-to
 .
factual findings and legal conclusions accepted by the district court, see Douglass v. United Servs.

Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded

by Congress and the courts require that, when a party takes advantage of his right to object to a

magistrate’s findings or recommendation, a district judge must exercise its nondelegable authority

by considering the actual evidence and not merely by reviewing and blindly adopting the

magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                   SIGNED this the 18th day of December, 2013.




                                                      ____________________________________
                                                      KEITH F. GIBLIN
                                                      UNITED STATES MAGISTRATE JUDGE




                                               -5-
